Case 9:19-cr-80030-WPD Document 190 Entered on FLSD Docket 08/13/2019 Page 1 of 2



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AM ERICA                            CASE NO.19-80030-CR-DIM lTROULEAS
               Plaintiff,



   PHILLIP BRAUN
   AARON SW GLEM AN
   ANTHONY VENTRELLA
   JAM ES BOCCUZZI
   DAVID W INSAUER
   BLACKSTONE LABS,LLC
   VENTECH LABS,LLC
                  Defendant


                                 ORDER GM NTING CONTINUANCE

           Thismatterhaving comebeforetheCourton theDefendantsM otion'sforContinuance.Afterdue

   consideration,itis

           ORDERED AND ADJUDGED thatthis caseishereby continued to thetwo-week trialcalendar

   commencingM ay 11,2020 at9:00 A.M ,o'clock,orassoonthereafterasthecasemay becalled.

   COUNSEL AND DFENDANTIS)shallreportto aCalendarCalltobe held on FRIDAY,M ay 8,2020,at
   9:00 mm .o'clock. Thedeadlineforfilingdefensivem otionsisJanuary l7,2020.ltbeingfurther

           ORDERED thatthe period from the dateofthisordertothetimeoftrialshallbedeemed excludable

   in computingthetimewithin which thetrialofthiscasemustcommencepursuantto Title 18,U.S.C.,Section

   3161(h)(8)(A),thisCoul'
                         tfindsthattheendsofjusticeservedbycontinuingthetrialoutweighthebestinterest
   ofthepublicandthedefendantts)in aspeedytrial.
           DoNé ANo oltosaso this12th dayofAugust,.2019.
                                                                        )
                                                                        tp q         l   7
                                         .
                                                   t /z
                                                   J.
                                                      . g
                                                      h
                                                      ? .    t
                                                              /             .4,-.-
                                                                                     .   g
                                                                                              ,;
                                                                                               '
                                             .
                                                 z;
                                                  .z g/
                                                      z
                                                      x...z
                                                          i. .zf zsz,
                                                                    (j
                                                                     z, -
                                          LLIAM P.DIM ITR         EAS
                                        United StatesDistrictJudge

           AlistairReader,DOJ
           David Frank,DOJ
Case 9:19-cr-80030-WPD Document 190 Entered on FLSD Docket 08/13/2019 Page 2 of 2



        BenedictKuehne,Esq.
        Richard Lubin,Esq.
        AmyM orse,Esq.
        NancyVorpeQuinlan,Esq.
        J.Stephen Salter,Esq.
        RobertBuonauro,Esq.
        M ichaelDavis,Esq.
        RobertShearin,Esq.
